3:23 -cv- 102 - FOW

UNITED STATES DISTRICT COURT

FILED
CHARLOTTE, NC
Panta ahaeis
Kanisha Monique Latrice Erwin NOV 13 2023
Plaintiff(s) US DISTRICT COURT

WESTERN DISTRICT OF NC
-\V-

Gaston County Department of Health & Human Services
Angela C. Karchmer

Tereasa L. Osborne

Statesville Housing Authority

Destiny Higginbotham

Cathy Chambers

Defendant(s)

COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS

(Non-Prisoner Complaint)

The Parties to This Complaint
B. The Defendant(s)
Defendant No. 5
Name: Destiny Higginbotham
Job or Title: Housing Manager
Address: 635 Noles Drive Mt. Holly N.C. 28120
County: Gaston
Telephone Number: (704) 761-4769 Ext. 271
Official capacity

Defendant No. 6

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Name: Cathy Chambers
Job or Title: Deputy Executive Director of Housing Operations File
Address: 635 Noles Drive Mt. Holly N.C. 28120
County: Gaston
Telephone Number: (704) 761-4769 Ext. 271
Official capacity

Basis for Jurisdiction

B. I the Plaintiff, Kanisha M. L. Erwin is suing under section 1983. The state and local
officials’ violations against my civil rights that are protected by the Constitution and federal
laws. The following laws have been violated by the state and local officials: Section 1. The
equality and rights of persons. Section 12. Right of assembly and petition. Section 13.
Religious liberty. Section 14. Freedom of speech and press. Section 18. Court shall be open.
Section 19. Law of the land; equal protection of the laws. Section 20. General Warrants. The
Constitution of the United States laws, Amendment 1, Amendment 4, and Amendment 14.
Section 1, Equal Protection Clause, is being violated by the defendants. The trial court’s
order judgment directly involves a substantial question arising under the Fourth and
Fourteenth Amendments to the Constitution of the United States, in that it violates my
rights by depriving me an opportunity to be heard sometime before the final judgment was
entered on 18 April 2022. In the trial court’s order filed 18 April 2022, located in the
“ADJUDICATION HEARING? section, paragraphs #10 - #23, contains supporting details that
the trial court proceeded with the trial hearing on 13 January 2022, without me being
present, due to sicknesses. I informed my attorneys that I was sick, and I sent them pictures
of the mold in the apartment. The mold caused me the sickness. Which is a violation of due
process for a State to enforce a judgment against a party to a proceeding without having
given her an opportunity to be heard sometime before final judgment is entered. The trial
court violated the equal protection laws, under the Fourteenth Amendments to the
Constitution of the United States, by treating me differently from the prosecution and
petitioners, Department of Social Services.

D. Beginning in December of 2014 and still occurring, the Department of Social Services
civil rights violations under the Fourth Amendment to the Constitution of the United
States: The right of the people to be secure in their persons, houses, papers, and effects,

against unreasonable searches and seizures, shall not be violated, and no Warrants shall

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issue, but upon probable cause, supported by Oath or affirmation, and particularly
describing the place to be searched, and the persons or things to be seized. The
defendants’ violations “under color of law” acts occurred when they conspired with one
another to retaliate against me. My parental rights have been terminated based on false
allegations against me. In January of 2022 I attended the trial hearing. Yet I got sick at the
trial, due to living in the long-term mold contaminated apartment. I was deprived of a
continuance. The most recent conspiracies occurred in 2023 and began in 2017: because the
Supreme Court in Raleigh North Carolina based the decisions on the untrue accusations
against me. The petitions that were submitted to the Supreme Court in N.C. contain false
allegations against me. The Gaston County DHHS submitted those same petitions to the
district court in Gaston County. I was deprived of my rights to a fair trial in 2019 and 2022.
The Statesville Housing Authority’, leasing managers, Cathy Chambers and Destiny
Higginbotham, neglected the mold damages, from May of 2017 until March of 2022. In
March of 2022 Cathy Chambers emailed me mold inspection evaluation results. The
documents contained the wrong address. By April of 2022 the Gaston County district court
terminated my parental rights. Statesville Housing Authority withheld evidence until after
my parental rights were terminated. Such as the Statesville Housing Authority’ Housing
Manager, Destiny Higginbotham and the Deputy Executive Director of Housing
Operations File, Cathy Chambers, refused to repair severe mold damages in 2017. Though |
the leasing agreement and law states that the landlord is responsible for all repairs, the
Gaston County Department of Health & Human Services, held me accountable for the

repairs. Between May of 2017 through November of 2017. In May of 2017 the Gaston County

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DHHS opened an investigation, stating that they received a report that my children living
in an injurious unit. | have emails from Gaston County DHHS social worker, Latasha
Wright in 2017 stating that the DHHS agency doesn’t interfere with landlord and tenant
issues. Yet on February 10" of 2021, the Gaston County DHHS filed a Petition for
Termination of Parental Rights, that contains the original petitions. The original petition
states that social worker, Latasha Wright assisted my family with housing services. I have
emails from Latasha refusing to assist my family with housing services. The Gaston County
DHHS petition states that there wasn’t and mold in the apartment and that my concerns
were signs of mental illness behaviors. The Gaston County DHHS allegations in the
Petition for Termination of Parental Rights states, I was showing signs of mental illness
and that I had deficient and impaired judgements. Which were grounds for the agency to
remove my children. The Gaston County DHHS deprived me of my parental rights. Such as
my children’s placement in foster care, my custody, my children’s well-being, school
records, and medical records. Both my children suffered injuries shortly after being
removed from my custody. Both injuries could have been caused by the mold in the unit.
My youngest son suffered from breathing complications, which did not occur until DHHS
took my children. My oldest son suffered from genital injury, which did not occur until
after my children were taken from my custody. I was accused of neglect and dependency.
The mold evaluation results in 2022 show that the apartment was infected with long-term
mold exposure. | was deprived of my rights to present the discovery evidence to the court.
Even though the agency refused to assist with housing prior to the removal of my children,

on January 12" of 2022, social worker Rachel McDowell testified that she informed the

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Statesville Housing Authority, leasing office manager, that I had abandoned my apartment.
In November of 2021 the Statesville Housing Authority, Housing manager, Destiny
Higginbotham, emailed me regarding Rachel McDowell’s visit. The information was false
statements. The petitions also state my concerns for my child’s medical treatment affected
my decision making and judgements. As well as signs of mental illness behaviors. Yet the
Petition for Termination of Parental Rights, filed in 2021, contains the “Predisposition
Report”, which was filed months after my children were taken from me. The report states
that the Gaston County DHHS agency had concerns that my child had development delays
which manifest in lack of verbal skills, severe tantrums, and inability to successfully engage
in age-appropriate skills and activities. But the agency alleged my concerns were signs of
mental illness behaviors. The Gaston County DHHS took my children to punish me for
filing civil complaints against Gaston County DHHS agency for harassment and slander,
local medical physicians for medical negligence, and the Statesville Housing Authority for
negligence. My parental rights were terminated, based on insufficient findings. The
petition to terminate my parental rights, filed on February 10“ of 2021, located on page 6
section (e), states “from May 8, 2018, through March 21, 2019, Respondent/mother
regularly submitted to drug screens with negative results.” Also located on page 6 section
(g), states “From March 20, 2019, until May 20, 2020, Respondent/mother did have
negative urine drug screens when she did submit to drug screen, Respondent/mother was
not fully compliant with the department efforts to screen her for substance use during this
time. Due to covid 19 pandemic restrictions and transportations limitations, I missed very

few drug screens. However, my children removed based on unlawful acts and the agency

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violated my rights to drug test me. In 2017 I was introduced to cocaine for the first time.
My children and I were temporarily residing with my relative, due to the mold in the
apartment causing one of my child’s sicknesses and my other child was an infant at the
time. My relative put us out and we stayed a night at an ex-boyfriend house, and he force
me to use drugs. I have evidence to support my truth. My children have been taken
unlawfully; I have been deprived of my rights. I respectfully ask the court for a fair
opportunity for trial to present my evidence and appointed counsel. I did not havea
attorney for the appeal process and I ama SSI recipient so I’m unable to afford legal
representation. I believe I did not follow the court procedures and rules at the Pro Se
proceedings. I’m desperately asking the court to appoint me legal representation. If
possible, I ask that the Department of Justice assist my family with this case. I’m suing the
defendants to regain custody of my children and I’m also suing the defendants for $50
million dollars settlement amount for withholding my children unlawfully for six years,
slander, conspiracies, violation of civil rights, and pain and suffering. Statesville Housing

Authority unlawfully evicted and refused to comply with the court order to grant access to

the apartment. I’m suing them for $300,000 dollars. Beginning in May of 2017 to
November of 2022, the leasing office managers neglected to provide the
necessary repairs to the damaged properties. Also causing my children to be
removed from my custody in November of 2017. Such as false accusations of
having deficient and impaired judgments of the injurious conditions of the

defendant’s property. The N.C. General Statutes 42-42(b) states, even if the

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tenant agrees to be responsible for the repairs or the lease agreement says the
landlord doesn’t have to make repairs, the landlord is still responsible for making
the repairs. The landlord failure to make the repairs, entitles the plaintiff to rent
abatement. On April 18th, of 2022, the Gaston County District Court 27A,
terminated my parental rights. Based upon the Statesville Housing Authority’s
injurious damages in the units.

In November of 2022 Statesville Housing Authority unlawfully proceeds to
padlock the property, caused multiple losses of personal belongings and damages.
The landlord’s negligence of providing the repairs occurred from May of 2017 to
November of 2022. Due to the conditions of the damage’s causing sickness and
illness | have been temporarily residing between multiple relatives and
occasionally residing at the injurious residence. Which caused financial debts
because | had to pay the cost to stay with my family and | was also paying for the
rent and utilities of property. Plaintiff's civil rights as a tenant, pertaining to the
“Implied Warranty of Habitability” law; were neglected by Statesville Housing
Authority. Such as severe mold damages, the call box for landline service didn’t
have any wires, air conditioning unit motor was broken, and the gas heater

smelled of smoke; causing the smoke detectors to detect smoke.

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Statement of Claim

C. Beginning in December of 2014 and still occurring, the Department of Social Services
civil rights violations. By unreasonable searches of personal medical records, mental
health records, and home and unreasonable seizures, such as the wrongful removal of my
children. Beginning in December 2014 to 3 November 2017, the Department of Social
Service's Safety Assessment documents lack any observations to support the allegations of
me failing to meet the safety factor identifications. The Safety Assessments documents
lacks any reports to support the allegations of substances abuse. On 3 November 2017, the
Department of Social Service's allegations of mental illness led to the removal of my
children. In January of 2017, my children and I were forced to transition to another
apartment to resolve neighbor’s complaints, the leasing office manager threatened to evict
my children and me if] failed to comply. The alternative apartment was injurious to the
family due to severe mold contaminations. In 2017 the Department of Social Services false
allegations against me were based on my concerns, judgements, and acts caused by the
housing manager’s negligence to repair the damages in the home. The leasing agreement
states the landlord is responsible for making repairs. The Department wrongfully accused
me of being mentally ill based on her decisions to provide a safe environment for her
children. My children and I suffered housing discrimination during the timeframe of the
Department of Social services investigations in 2017. From May 2017 to May 2022 the
landlord continued to neglect the repairs. On 10 October 2022 I submitted evidence that
supports the long-term exposure of fungi spores and mold contaminations to the North
Carolina Court of Appeals. In January of 2022 ] reported my sicknesses caused by the
discovery evidence to guardian ad litem Holden Clark and attorney Michele McPhatter. By
emailing photos of the damage. Both counselors neglected to present the reports to the
court. The mold test took place in March of 2022. The Department of Social Services failed
to prove by clear and convincing evidence that due to mental illness, that I’m incapable of
providing for the care and supervision of her children, where the only evidence offered by
DSS to show that I was mentally incapable of caring for her children was the testimony of
the doctor who testified that the fact that someone carries a diagnosis of personality
disorder does not that the person is incapable of raising children and behavior patterns by
itself did not mean that I was incapable of taking care of her children. The judgment in the
trial court’s order filed on 18 April 2022, terminating respondent-mother’s parental rights.
Which lacks finding facts that are supported by clear, cogent, and convincing evidence and
wasn't based on proper legal grounds. In the trial court’s order filed 18 April 2022, located
in the “ADJUDICATION HEARING?’ section, paragraphs #10 - #23, contains supporting
details that the trial court proceeded with the trial hearing on 13 January 2022, without the
respondent-mother’s presence. On 15 September 2021 the trial court restricted both parties
from requesting any continuance and extended time within the trial period. The District
Court Judge John K. Greenlee also rejected the mother’s request to waive her rights to be
represented by the court’s appointed counsel. On 15 September 2021 the trial court erred by

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failing to inform the provisional court appointed counselor at that time. Yet allowing court
appointed attorney, Cynthia S. Morris to withdraw, appointing Holden Clark as the
guardian ad litem, and still scheduling the trial hearing for 8 November 2021. On 8
November 2021 the trial court did not proceed due to the prosecution’s failure to provide
evidence to the trial court. On 12 January 2022 | did not return to the trial court hearing
due to sicknesses possibly caused by long-term exposure to mold contaminations. On 13
January 2022 the trial court did not proceed due to my absence caused by illness. The trial
court terminated my parental rights on 13 January 2022 but did not submit the trial court
order until 18 April 2022. The trial court errors of not reviewing evidence and failures of
hold a fair trial hearing.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the
District of

Division

Case No.

See. \ Rroon ew (to be filled in by the Clerk's Office)
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

Jury Trial: (check one) Yes [_]No

Yee AYochead

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name i he 4 1
Address ¥ ZO Sale Cie Yok 2)
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Be. = Ree

State Zip Code
County

Gas
Telephone Number ORC Ad ATED

E-Mail Address Kamsnamb ecw i IN@OvHOaK Com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

Name Pooe NO. C. Kore Yamer :

Job or Title (if known) f
Address \
tego KC
State Zip Code
County Coe
Telephone Number FOG BG 2 Fary
E-Mail Address (if known) : Eee

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Defendant No. 2

Name VA ceQsa. a, CaO COE

Job or Title (if known) :
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Coakomio. MC :

City State Zip Code

County Coskoan
Telephone Number IO uj “$6. - 2577) Z
E-Mail Address (if known) a

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

II.

Defendant No. 3

Name Goelen Counly DepacimentoF
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Defendant No. 4

Name ANolean\le. Youssing Bukirocity :

Job or Title (if known)

Address OOD. Noles Dave
Mh. Holly ANC __ AZIdO

City State Zip Code
County Looston
Telephone Number 4OU Aol UtGG

E-Mail Address (if known)
[] Individual capacity Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):

EJ Federal officials (a Bivens claim)

| State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.’
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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III. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?
Coskenio NC. | MT Molly NE:

B. What date and approximate time did the events giving rise to your claim(s) occur? ;
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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) Es
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IV.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

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